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 9
                                    UNITED STATES DISTRICT COURT
10
                                   NORTHERN DISTRICT OF CALIFORNIA
11

12    U.S. EQUAL EMPLOYMENT                              Case No.: 3:23-cv-04984-JSC
      OPPORTUNITY COMMISSION,
13

14                    Plaintiff,                         PLAINITFF EEOC’S [PROPOSED]
                                                         ORDER DENYING DEFENDANT
15             vs.                                       TESLA’S MOTION TO DISMISS
                                                         COMPLAINT FOR FAILURE TO STATE
16    TESLA, INC.                                        A CLAIM
17                    Defendant.
18

19            Defendant Tesla, Inc. (Defendant)’s Motion to Dismiss Plaintiff Equal Employment
20   Opportunity Commission’s Complaint for Failure to State a Claim (Motion to Dismiss) (ECF 27)
21   having come for hearing before this Court, and this Court having considered the parties’ briefing and
22   all other evidence and arguments in support and in opposition thereof, and for good cause shown, it
23   is hereby ORDERED that:
24            Defendant’s Motion to Dismiss (ECF 27) is hereby DENIED. Defendant shall file its Answer
25   to the Complaint within twenty-one (21) days of this order.
26

27   Dated:
                                                       HON. JACQUELINE SCOTT CORLEY
28                                                     United States District Court Judge

[PROPOSED] ORDER DENYING TESLA’S
MOTION TO DISMISS
                                                         1                         Case No.: 3:23-cv-04984-JSC
